      Case 3:15-cv-00645-L Document 1 Filed 02/26/15                Page 1 of 6 PageID 1



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

GAIL EPKIN,                                   §
                                              §
       Plaintiff,                             §
                                              §
v.

STATE FARM LLOYDS,                            §
JARED LEINENGER and                           §                 JURY DEMAND
KEVIN JACKSON,                                §
                                              §
       Defendants.                            §


            DEFENDANTS STATE FARM LLOYDS AND JARED LEINENGER'S

                                   NOTICE OF REMOVAL

TO THE HONORABLE COURT:

       Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants State Farm Lloyds and Jared

Leinenger file this, their Notice of Removal to the United States District Court for the Northern

District of Texas, Dallas Division, on the basis of diversity of citizenship and amount in

controversy and respectfully shows:

                                                   I.

                          FACTUAL AND PROCEDURAL BACKGROUND

       1.      On January 23, 2015, Plaintiff Gail Epkin filed her Original Petition in the matter

styled Gail Epkin v. State Farm Lloyds, Jared Leinenger and Kevin Jackson, Cause No. DC-15-

00833, in the 193rd Judicial District Court in and for Dallas County, Texas. The lawsuit arises

out of a claim Plaintiff made for damages to her home under a homeowner's insurance policy

with State Farm Lloyds.

       2.      Plaintiff served State Farm Lloyds ("State Farm") with a copy of the Original

Petition on or about February 3, 2015.
DEFENDANT STATE FARM LLOYDS' NOTICE OF REMOVAL - Page 1
2162841v1
10578.113
       Case 3:15-cv-00645-L Document 1 Filed 02/26/15                Page 2 of 6 PageID 2



        3.      Plaintiff served Jared Leinenger ("Leinenger") with a copy of the Original

Petition on or about February 3, 2015.

        4.     Upon information and belief, Kevin Jackson ("Jackson") has not been served.

        5.     Defendants State Farm and Leinenger file this notice of removal within 30 days of

receiving Plaintiffs pleading. See 28 U.S.C. § 1446(b). In addition, this Notice of Removal is

being filed within one year of the commencement of this action.

        6.     A l l pleadings, process, orders, and other filings in the state court action are

attached to this Notice as required by 28 U.S.C. § 1446(a). A copy of this Notice is also

concurrently being filed with the state court and served upon the Plaintiff.

        7.     As required by 28 U.S.C. § 1446(a) and Rule 81.1 of the Local Rules,

simultaneously with the filing of this notice of removal, attached hereto as Exhibit "A" is an

Index of State Court Documents, a copy of the Docket Sheet is attached as Exhibit "B," a copy

of Civil Case Cover Sheet is attached as Exhibit "C," Plaintiffs Original Petition is attached as

Exhibit "D," a copy of the Jury Demand is attached as Exhibit "E," a copy of the Citation

Certificate issued on State Farm Lloyds is attached as Exhibit "F," a copy of the Citation

Certificate issued on Jared Leinenger is attached as Exhibit "G," a copy of the Citation

Certificate issued on Kevin Jackson is attached as Exhibit "H," a copy of the Notice of Hearing

on the Dismissal for Want of Prosecution is attached as Exhibit " I , " and a copy of State Farm

Lloyds and Jared Leinenger's Original Answer and Affirmative Defenses are attached as Exhibit

"J."

        8.     Venue is proper in this Court under 28 U.S.C. §1441(a) because this district and

division embrace Dallas County, Texas, the place where the removed action has been pending

and where the incident giving rise to this lawsuit took place.


DEFENDANT STATE FARM LLOYDS' NOTICE OF REMOVAL - Page 2
2162841v1
10578.113
      Case 3:15-cv-00645-L Document 1 Filed 02/26/15                  Page 3 of 6 PageID 3



                                            II.
                                    BASIS FOR REMOVAL

        9.     Removal is proper based on diversity of citizenship under 28 U.S.C. §§1332(a),

1441(a) and 1446.

A.      The Proper Parties Are Of Diverse Citizenship

        10.    Plaintiff is, and was at the time the lawsuit was filed, a resident and citizen of

Texas. See Pi's Original Pet., Exhibit D, Pg. 1.

        11.    Defendant State Farm is, and was at the time the lawsuit was filed, a citizen of the

states of Illinois, Colorado and Pennsylvania. State Farm is a "Lloyd's Plan" organized under

Chapter 941 of the Texas Insurance Code. It consists of an association of underwriters, each of

whom, at the time this action was commenced were, and still are, citizens and residents of the

states of Illinois, Colorado and Pennsylvania. Therefore, State Farm is a citizen and resident of

the states of Illinois, Colorado and Pennsylvania for diversity purposes. Royal Ins. Co. v. Quinn-

L Capital Corp., 3 F.3d 877, 882 (5th Cir. 1993); Massey v. State Farm Lloyd's Ins. Co., 993 F.

Supp. 568, 570 (S.D. Tex. 1998) ("the citizenship of State Farm Lloyds must be determined

solely by the citizenship of its members, or underwriters."); Rappaport v. State Farm Lloyd's,

1998 WL 249211 (N.D. Tex. 1998) (finding that State Farm Lloyds is an unincorporated

association whose members are completely diverse with Plaintiff, and denying remand).

        12.    Upon information and belief, Defendant Jared Leinenger is, and was at the time

the lawsuit was filed, a resident and citizen of the State of Michigan.

       13.     Upon information and belief, Defendant Kevin Jackson is, and was at the time the

lawsuit was filed, a resident and citizen of the State of Texas. With respect to the claims against

Jackson, it is State Farm's position that he has been fraudulently joined in this action. Therefore,




DEFENDANT STATE FARM LLOYDS' NOTICE OF REMOVAL - Page 3
2162841v1
10578.113
      Case 3:15-cv-00645-L Document 1 Filed 02/26/15                  Page 4 of 6 PageID 4



the Texas citizenship of Jackson should be disregarded for the purposes of evaluating diversity in

this matter.

        14.    When fraudulent joinder is asserted, the Court must "pierce the pleadings" to

determine whether a cause of action grounded in fact exists. Carriere v. Sears, Roebuck & Co.,

893 F.2d 98, 100 (5th Cir. 1990), cert, denied, 498 U.S. 817 (1990). The failure to specify a

legal and factual basis for a claim against a non-diverse party constitutes a failure to state a claim

and results in fraudulent joinder of that party. Waters v. State Farm Mut. Auto. Ins. Co., 158

F.R.D. 107, 109 (S.D. Tex. 1994).

        15.    Here, Plaintiff asserts generic claims against Jackson for violations of the Texas

Insurance Code, as well as breach of the duty of good faith and fair dealing, fraud, violations of

the Deceptive Trade Practices Act, conspiracy, and aiding and abetting. (Pi's Orig. Pet. § VI,

Exhibit D). Based on Plaintiffs pleading, there is no basis for predicting that Plaintiff might be

able to establish liability against Jackson because no real facts relating to him have been set

forth. Plaintiffs claims against Jackson consist merely of labels, conclusions, and formulaic

recitations of the elements of causes of action. See Bell Atlantic Corp. v. Twombly, 550 U.S.

554, 127 S. Ct. 1955, 1964-65, 167 L.Ed.2d 929, 940 (2007); see also Ashcroft v Iqbal, 556 U.S.

662, 129 S. Ct. 1937, 1945, 173 L.Ed.2d 868 (2009). As such, Plaintiff cannot "establish a cause

of action against [Jackson] in state court." Travis v. Irby, 326 F.3d 644, 647 (5th Cir. 2003)
                                                             th
(citing Griggs v. State Farm Lloyds, 181 F.3d 694, 698 (5 Cir. 1999)); see also TAJ Properties,

LLC v. Zurich American Ins. Co., Civil Action No. H-10-2512, 2010 WL 4923473 at *2 (S.D.

Tex. Nov. 29, 2010) (Werlein, J.). Because there is no reasonable basis for this Court to predict

that the Plaintiff might be able to recover against Jackson, his presence should be disregarded in

determining diversity jurisdiction.


DEFENDANT STATE FARM LLOYDS' NOTICE OF REMOVAL - Page 4
2162841v1
10578.113
         Case 3:15-cv-00645-L Document 1 Filed 02/26/15              Page 5 of 6 PageID 5



          16.   Jackson's fraudulent joinder is further evidenced by the fact that Plaintiff, upon

information and belief, has failed to serve Jackson. Courts have used lack of service as a key

factor in determining that the Plaintiff did not intend to actively pursue claims against the non-

diverse Defendant; and therefore, the non-diverse defendant was fraudulently joined. See Centro

Cristiano Cosecha Final v. Ohio Cas. Ins. Co., No. H-10-1846, 2011 WL 240335 at * 14 (S.D.

Tex.).

         17.    Because Plaintiff is a citizen of Texas, Defendant State Farm is a citizen of

Illinois, Colorado and Pennsylvania, and Defendant Leinenger is a citizen of Michigan, complete

diversity of citizenship exists among the proper parties.

B.       The Amount in Controversy Exceeds $75,000.00

         18.    This is a civil action in which the amount in controversy exceeds $75,000.00.

Plaintiffs Petition expressly alleges that "Plaintiff seeks monetary relief over $100,000.00 but

not more than $200,000.00[.]" See Exhibit D, § VIII. Thus, the express allegations in the

Petition exceed the amount in controversy threshold of $75,000.00.

                                     Conclusion and Prayer

         All requirements are met for removal under 28 U.S.C. §§ 1332 and 1441. Accordingly,

Defendant State Farm Lloyds hereby removes this case to this Court for trial and determination.


                                             Respectfully submitted,

                                             /s/ Rhonda J. Thompson
                                             Rhonda J. Thompson
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DEFENDANT STATE FARM LLOYDS' NOTICE OF REMOVAL - Page 5
2162841v1
10578.113
       Case 3:15-cv-00645-L Document 1 Filed 02/26/15               Page 6 of 6 PageID 6



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                                             COUNSEL FOR DEFENDANT STATE FARM
                                             LLOYDS AND JARED LEINENGER



                                CERTIFICATE OF SERVICE

       I hereby certify that on February 26, 2015 a true and correct copy of the foregoing has
been forwarded to counsel of record in accordance with the applicable Rules of Civil Procedure:

Via Facsimile and Certified Mail, RRR:
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DEFENDANT STATE FARM LLOYDS' NOTICE OF REMOVAL - Page 6
2162841v1
10578.113
